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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMMERSION CORPORATION,
    Plaintiff,

v.
                                                          Case No. 2:17-CV-00572-JRG
SAMSUNG ELECTRONICS AMERICA,
INC., et al.,
       Defendants.


         UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO SUBMIT
                    PROPOSED PROTECTIVE ORDER

       Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(collectively, “Samsung”), respectfully files this Unopposed Motion for an Extension of Time to

Submit Proposed Protective Order, and would show as follows:

       Under the Docket Control Order (Dkt. No. 27), the deadline to submit a proposed protective

order is December 19, 2017. The parties are working diligently to reach agreement on a small

number of issues that remain outstanding with respect to the proposed protective order. The parties

believe that having additional discussions will facilitate a potential agreement. Samsung therefore

respectfully moves the Court for up to and including December 22, 2017, for the parties to submit

their proposed protective order. This extension is unopposed and will not delay any other Court

ordered deadlines. A proposed order granting this extension is attached.
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Date: December 19, 2017                  Respectfully submitted,



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                                                   COUNSEL FOR DEFENDANTS
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                                                   INC. AND SAMSUNG ELECTRONICS
                                                   CO., LTD.

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that counsel of record who are deemed to have consented
to electronic services are being served with a copy of this document via the Court’s CM/ECF
system per Local Rule CV-5(a)(3) on December 19, 2017.


                                                   /s/ Melissa R. Smith
                                                   Melissa R. Smith




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